
In re Guy, Wilfred; —Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. F, No. 306-419; to the Court of Appeal, Fourth Circuit, No. 2010-K-0595.
Writ granted in part; otherwise denied. The Orleans Parish Clerk of Court is ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const. art. XII, Section 3; R.S. 44:31; R.S. 44:31.1; State ex rel. Barbee v. State, 10-0275 (La.2/4/11), 57 So.3d 318; State ex rel. Leonard v. State, 96-1889 (La.6/13/97), 695 So.2d 1325; State ex rel. Level v. State, 99-2266 (La.12/17/99), 751 So.2d 869; Range v. Moreau, 96-1607 (La.9/3/96), 678 So.2d 537. In all other respects, the application is denied.
